        Case 2:23-bk-50036             Doc 10 Filed 01/11/23 Entered 01/12/23 00:08:26                                  Desc
                                     Imaged Certificate of Notice Page 1 of 3
Form a0ntcsch
(Rev. 6/18)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Ohio
                                          170 North High Street
                                        Columbus, OH 43215−2414



In Re: Sherri Ann Borghese                                 Case No.: 2:23−bk−50036

                Debtor(s)                                  Chapter: 13
SSN/TAX ID:
     xxx−xx−6914                                           Judge: Mina Nami Khorrami



                  ORDER REGARDING DEFICIENT FILING BY INDIVIDUAL DEBTOR
                AND SETTING FOURTEEN (14) DAY DEADLINE FOR COMPLIANCE; AND
                           NOTICE OF IMMINENT DISMISSAL OF CASE

    The above−captioned bankruptcy case was filed without certain forms required by the Bankruptcy Code and/or
Federal and Local Rules of Bankruptcy Procedure. See 11 U.S.C §§ 109(h), 342(b), 521(a)(1); Federal Rules of
Bankruptcy Procedure 1007 and 2016; and Local Bankruptcy Rules 1007−1, 1007−2, 1015−2 and 2016−1(b)(1).
Most required official and local forms are available on the on the court's website (www.ohsb.uscourts.gov), under
the tab "Rules & Forms." The following required forms are missing and must be filed within fourteen (14) days of
the petition filing date:

I. Forms required by 11 U.S.C. § 521(a)(1);

       Attorney's certification regarding notice to debtor required by 11 U.S.C. § 342(b) (Official Form 101, Part 7)

       Signature of debtor and certification regarding notice to debtor required by 11 U.S.C. § 342(b) (Official
        Form 101, Part 7)

       Schedules A/B − Property (Official Form 106A/B)

       Schedule D − Creditors Who Have Claims Secured by Property (Official Form 106D)

       Schedule E/F − Creditors Who Have Unsecured Claims (Official Form 106E/F)

       Schedule I − Your Income; must include an answer to Question 13 (Official Form 106I)

       Schedule J − Your Expenses; must include an answer to Question 24 (Official Form 106J)

       Schedule J−2 − Expenses for Separate Household of Debtor 2 (Official Form 106J−2)

       Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)

       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period. (Official
       Form 122C−1)

       Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119)
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II. Other required forms:


       Explain Your Efforts to Receive a Briefing About Credit Counseling − Debtor (Official Form 101, Part 5)

       Explain Your Efforts to Receive a Briefing About Credit Counseling − Joint Debtor (Official Form 101,
       Part 5)

       Certificate of Credit Counseling − Debtor (certificate is provided by credit counseling agency)

       Certificate of Credit Counseling − Joint Debtor (certificate is provided by credit counseling agency)

       Certification of exigent circumstances under 11 U.S.C. § 109(h)(3) (separate sheet attached to Official
       Form 101)

       Motion for waiver of credit counseling requirement under 11 U.S.C. § 109(h) (4) (separate motion)

       Schedule C − The Property You Claim as Exempt (Official Form 106C)

       Schedule G − Executory Contracts and Unexpired Leases (Official Form 106G)

       Schedule H − Your Codebtors (Official Form 106H)

       Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 106Sum)

       Declaration About an Individual Debtor's Schedules (Official Form 106Dec)

       Chapter 13 Calculation of Your Disposable Income. (Official Form 122C−2)

       Chapter 13 Attorney Compensation Disclosure Statement (Local Bankruptcy Rule Form 2016−1(b))

       Statement of Related Cases (Local Bankruptcy Rule Form 1015−2)

       Statement About Your Social Security Numbers (Official Form 121)

       Verification of List of Creditors (Local Bankruptcy Rule 1007−2; available on the court's website
       at (www.ohsb.uscourts.gov/pdf−writable−forms)

  THIS CASE MAY BE DISMISSED WITHOUT FURTHER NOTICE IF THE DEBTOR(S) FAILS TO
COMPLY WITH THIS ORDER.

SO ORDERED.

Dated: January 9, 2023




                                                          Mina Nami Khorrami
                                                          United States Bankruptcy Judge
             Case 2:23-bk-50036                   Doc 10 Filed 01/11/23 Entered 01/12/23 00:08:26                                                Desc
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                                                               United States Bankruptcy Court
                                                                 Southern District of Ohio
In re:                                                                                                                  Case No. 23-50036-mnk
Sherri Ann Borghese                                                                                                     Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0648-2                                                   User: ad                                                                    Page 1 of 1
Date Rcvd: Jan 09, 2023                                                Form ID: a0ntcs13                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 11, 2023:
Recip ID                  Recipient Name and Address
db                      + Sherri Ann Borghese, 1791 Deanne Lane, Columbus, OH 43223-2159

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 11, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 9, 2023 at the address(es) listed
below:
Name                               Email Address
Asst US Trustee (Col)
                                   ustpregion09.cb.ecf@usdoj.gov

Derek Michael Shaw
                                   on behalf of Debtor Sherri Ann Borghese measter@caliglaw.com dshaw@caliglaw.com

Faye D. English
                                   notices@ch13columbus.com


TOTAL: 3
